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               In The United States Court of Appeals
                      For The Fourth Circuit
        Appalachian Voices, et al.,   )
                                      )
                         Petitioners, )
                                      )
                 v.                   ) Nos. 24-1650, 24-1748, 24-1751,
                                      )      24-1756, 24-1758, 24-1760,
        Federal Energy Regulatory     )      24-1765, 24-1770, 24-1785,
            Commission,               )      24-1792, 24-1804, 24-1857,
                                      )      24-1862, 24-1863, 24-1867,
                         Respondent.  )      24-1876, 24-1885, 24-1887,
                                      )      24-1979, 24-1991, 24-2162,
                                      )      24-2163
                                      )      (consolidated)
        ______________________________)________________________

                                      Status Report

              On August 22, 2024, Respondent Federal Energy Regulatory

        Commission (“Commission” or “FERC”) ﬁled an unopposed motion to hold

        the above-captioned petitions for review in abeyance to allow for the

        completion of the statutorily mandated Commission rehearing process. The

        Commission proposed that the parties ﬁle motions to govern further

        proceedings by January 6, 2025. On August 26, the Court granted the

        motion.
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              On December 12, the Court “direct[ed] the parties to ﬁle a status report

        regarding the status of the statutorily mandated Commission rehearing

        process by 12/23/2024.” Pursuant to the Court’s order and 4th Cir.

        R. 12(d), the Commission now ﬁles this report. 1

              On November 21, 2024, the Commission issued an order (Order

        No. 1920-A) responding to requests for rehearing of Order No. 1920 (i.e., the

        order on review in the above-captioned appeals). See Building for the Future

        Through Elec. Reg’l Transmission Planning and Cost Allocation, Order

        No. 1920-A, 189 FERC ¶ 61,126 (Nov. 21, 2024). Order No. 1920-A

        “adopt[s] a number of modiﬁcations and clariﬁcations to address the

        concerns raised in response to Order No. 1920.” Id. P 3.

              A person “aggrieved” by a Commission order “may apply for a

        rehearing within thirty days after issuance of such order.” 16 U.S.C.

        § 825l(a). The Commission then has 30 days to act upon the application for

        rehearing. Id. As of the time of ﬁling this report, the Commission has

        received several requests for rehearing of Order No. 1920-A, submitted by

        WestConnect Coordinating Transmission Owners, PPL Electric Utilities


        1
             This report is ﬁled on behalf of FERC and those parties listed in an
        addendum to this report.

                                              2
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        Corporation, MISO Transmission Owners, American Electric Power Service

        Corporation, Edison Electric Institute, National Rural Electric Cooperative

        Association, and WIRES. See generally FERC Dkt. No. RM21-17.

        Accordingly, the agency rehearing process remains ongoing.

              The Commission will consult with the parties in the coming weeks and

        ﬁle a motion to govern further proceedings on January 6, 2025.



                                                  Respectfully submitted,


                                                  /s/ Jared B. Fish___________
                                                  Jared B. Fish
                                                  Attorney



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         Commission
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        December 23, 2024




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           ADDENDUM
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        This status report is ﬁled on behalf of FERC and the following parties:
        Advanced Energy United
        American Clean Power Association
        American Forest & Paper Association
        Appalachian Voices
        Arizona Corporation Commission
        Coalition of MISO Transmission Customers
        Commonwealth of Kentucky
        Connecticut Municipal Electric Energy Cooperative
        Dominion Energy Services, Inc. (on behalf of its aﬃliates Virginia Electric
        and Power Company d/b/a Dominion Energy Virginia and Dominion Energy
        South Carolina, Inc.)
        Electricity Transmission Competition Coalition
        Energy Alabama
        Environmental Defense Fund
        FirstEnergy Companies
        Industrial Energy Consumers of America
        Invenergy Solar Development North America LLC
        Invenergy Thermal Development LLC
        Invenergy Transmission LLC
        Invenergy Wind Development North America LLC
        ITC Midwest
        Large Public Power Council
        Louisiana Public Service Commission
        Maryland Public Service Commission
        Massachusetts Municipal Wholesale Electric Company
        Michigan Public Power Agency
        Michigan Public Service Commission
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        MISO Transmission Owners
        Mississippi Public Service Commission
        National Association of Regulatory Utility Commissioners
        National Rural Electric Cooperative Association
        Natural Resources Defense Council
        New England States Committee on Electricity
        New Hampshire Electric Cooperative, Inc.
        North Carolina Sustainable Energy Association
        Oﬃce of the Ohio Consumers’ Counsel
        Pennsylvania Public Utility Commission
        PJM Industrial Customer Coalition
        PJM Interconnection, L.L.C.
        PPL Electric Utilities Corporation
        Public Utilities Commission of Ohio’s Oﬃce of the Federal Energy Advocate
        Resale Power Group of Iowa
        Sierra Club
        Solar Energy Industries Association
        South Carolina Coastal Conservation League
        Southern Alliance for Clean Energy
        State of Georgia
        State of Texas
        State of Utah
        Vermont Public Power Supply Authority
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                                CERTIFICATE OF SERVICE

              In accordance with Fed. R. App. P. 25(d), I hereby certify that I have,

        on December 23, 2024, served the foregoing upon the counsel listed in the

        Service Preference Report via email through the Court’s CM/ECF system.



                                                  /s/ Jared B. Fish___________
                                                  Jared B. Fish
                                                  Attorney


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